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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:07CR73
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
EUGENIO CAMACHO-PARRAL,                       )
                                              )
              Defendant.                      )

       The Court has received the Revised Presentence Investigation Report (“PSR”) and

the Defendant’s objections thereto (Filing No. 57). See Order on Sentencing Schedule, ¶

6. The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       The Defendant objects to the lack of a downward adjustment for the Defendant’s

minor role in the offense, which was a part of the plea agreement.1 The plea agreement

recommends a 2-level reduction under U.S.S.G. § 3B1.2(b) for a minor role. The Court’s

tentative findings are that, absent unusual circumstances, the plea agreement should be

upheld and the total offense level should be calculated as level 19.

       IT IS ORDERED:

       1.     The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 57) are granted;

       2.     Otherwise the Court’s tentative findings are that the Presentence Investigation

Report is correct in all respects;


       1
       According to the Addendum to the PSR, the government objected informally for the
same reason although formal objections were not filed.
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       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 28th day of January, 2009.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge




                                               2
